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         KLEITIAS PETRI                                                 JOB NO. 1126464
         AUGUST 12, 2024

    ·1· · · · · · · · · ·UNITED STATES DISTRICT COURT
    · · · · · · · · ·FOR THE SOUTHERN DISTRICT OF FLORIDA
    ·2
    · · · · · · · · · ·CIVIL ACTION NO. 23-CV-60345-JB
    ·3

    ·4

    ·5· ·HEAD KANDY, LLC,

    ·6· · · · · · · Plaintiff,

    ·7· ·vs.

    ·8· ·KAYLA MARIE MCNEILL,

    ·9· · · · · · · Defendant.
    · · ·____________________________________x
    10

    11

    12
    · · ·VIDEOTAPED
    13· ·DEPOSITION OF:· · KLEITIAS PETRI

    14· ·DATE TAKEN:· · · ·Monday, August 12, 2024

    15· ·START TIME:· · · ·10:16 a.m. - 7:19 p.m. (EST)

    16· ·LOCATION OF· · · ·Staten Island, New York
    · · ·THE WITNESS:· · · via Zoom Video-Conference
    17
    · · ·COURT REPORTER:· ·Jennifer Chisholm
    18· · · · · · · · · · ·Notary Public - State of Florida.

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    ·1· ·APPEARANCES (VIA ZOOM):

    ·2

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    ·9

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    14· · · · · · · Appearing on behalf of Defendant.

    15

    16· ·ALSO PRESENT (VIA ZOOM):

    17· · · · Aniram Martinez, Videographer
    · · · · · Kayla Marie McNeill
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     ·1· · · · I didn't see any other payments for 2020 or 2021 from
     ·2· · · · Kayla's personal accounts.
     ·3· · · · · · · · · ·Then I looked at the points, and the points,
     ·4· · · · I took the points from the statements.· I just copied
     ·5· · · · them from the previous report that you had opened, uh,
     ·6· · · · the documents, and I just copied what the points were
     ·7· · · · for '19, '20 and '21, which has totaled the 43,625.
     ·8· · · · · · · · · ·And then I looked --
     ·9· ·Q.· ·Sorry --
     10· ·A.· ·Yeah?
     11· ·Q.· ·-- on the points, is that earned points or applied
     12· · · · points?
     13· ·A.· ·Applied points.
     14· ·Q.· ·Okay.
     15· ·A.· ·Applied points, yeah.· Let's see.· 2019, yeah.
     16· · · · · · · · · ·So, yeah.· If you look at the previous
     17· · · · document that you had opened, those numbers will match
     18· · · · to the points that are here, and in 2019, 2020 and
     19· · · · 2021, I just copied and pasted.· I didn't recalculate
     20· · · · anything.· It was just copied from the prior document
     21· · · · that you showed me, Exhibit 1, yeah.
     22· · · · · · · · · ·So those three years totaled in payments
     23· · · · 43,625, right?· I added '19, '20 and '21.
     24· · · · · · · · · ·And then, if you scroll down, I took a look,
     25· · · · uh -- yeah.· I took a look at the credits that were on

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    ·1· ·the American Express statement.· Again, I just copied
    ·2· ·and pasted them from the previous statement.· The only,
    ·3· ·the extra step that I did here is that some of the
    ·4· ·credits were also included on the K2 report.· So since
    ·5· ·they were already there, I removed them from here
    ·6· ·because I was just totaling what the credits were.· So
    ·7· ·I came up with the 41,000.
    ·8· · · · · · · And then some of the credits on the
    ·9· ·statements were for, like, Ryan or other credits that
    10· ·weren't on Kayla's card.· So I just took those out,
    11· ·which ended up with the $41,088.61.
    12· · · · · · · Then, if you scroll...
    13· · · · · · · I just made notes, like, what I excluded, of
    14· ·the credits I excluded, and you can see the notes that
    15· ·I made there.· And then I looked at the K2 report.
    16· ·There is a screenshot of the K2 report, as you can see.
    17· ·So I excluded Ryan and Rhonda.· I excluded those.· And
    18· ·I, since I had seen some of the 2018 expense reports, I
    19· ·didn't see the receipts, right?· I just assumed those
    20· ·were business expenses.· I didn't look at any of the
    21· ·details.· And since I had looked at 2022, I excluded
    22· ·that year as well because I did have some of the
    23· ·receipts that were provided to me and explanations, and
    24· ·I kept those three years, which total for-for Kayla and
    25· ·Dustin, which totaled 699,750.

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     ·1· ·Q.· ·(No Response.)
     ·2· ·A.· ·Okay?
     ·3· ·Q.· ·Okay.
     ·4· ·A.· ·And this is just going based on the K2 report, right,
     ·5· · · · for the expenditures with no apparent business purpose
     ·6· · · · by year-end cardholder.· This is just looking at the
     ·7· · · · amounts that K2 had provided, right?
     ·8· · · · · · · · · ·So if you scroll down a little -- unless you
     ·9· · · · have a question here?
     10· ·Q.· ·Which K2 report did you use for these summaries?
     11· ·A.· ·So I made a note on col- -- on cell B58, and I put
     12· · · · January 5th, 2023, summary from page 2.
     13· ·Q.· ·Okay.· Thank you.
     14· ·A.· ·Yeah.
     15· · · · · · · · · ·Uh, and then if you scroll down, so starting
     16· · · · on cell B86, I manually put in the receipts that I
     17· · · · believe Kayla had provided, that Colin had shared with
     18· · · · me.· And if something looked business expense, I put it
     19· · · · here as a credit, right?· I put it in that, okay, this
     20· · · · looks like business expense.· I...· This is just my
     21· · · · determination.· Again, this is what I thought was okay
     22· · · · for me.· But, again, right, if, if the company were to
     23· · · · go through an audit, additional support would probably
     24· · · · be needed because some of the stuff, you know, could
     25· · · · need additional support.· So I went through all the

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     ·1· · · · statements, whatever was there.· I mean, it was a lot
     ·2· · · · of receipts, right, that I went through.· And there
     ·3· · · · were a few that I didn't know.· I couldn't figure out
     ·4· · · · if they were business, personal.· I couldn't determine
     ·5· · · · them.· ·So I didn't put them here.· I think I included
     ·6· · · · most of them.· And the receipts provided totaled that
     ·7· · · · 69,907.· There were no receipts provided for Yotpo that
     ·8· · · · I saw in what was shared with me.
     ·9· · · · · · · · · ·But if you go to the tab, Yo-Yotpo, I knew
     10· · · · that the company had previous charges from Yotpo that
     11· · · · it seemed to be business-related.· So I made the
     12· · · · assumption that the Yotpo charges on the K2 report were
     13· · · · business-related, so this was just my assumption.
     14· · · · · · · · · ·So if you go back to the su- -- which total
     15· · · · the 24,750 and the --
     16· ·Q.· ·Is the -- sorry --
     17· ·A.· ·-- screen --
     18· ·Q.· ·-- just real quick.
     19· · · · · · · · · ·Is the Yotpo the one that you mentioned that
     20· · · · the charge that had been on Mr. Rosenbaum's card after,
     21· · · · uh, Ms. McNeill --
     22· · · · · · · · · ·(Witness cross-talking.)
     23· ·A.· ·Yeah, yeah, yeah, yeah, Yelp -- Yotpo, yes.
     24· · · · · · · · · ·I mean, the company had that for a while.
     25· ·Q.· ·Okay.

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     ·1· ·A.· ·I-I made the assumption that those were business
     ·2· · · · expense.· Again, I didn't have receipts for them.                I
     ·3· · · · just made an assumption there.· So if you could go back
     ·4· · · · to the summary, I just subtracted that total of 24,000,
     ·5· · · · and then I noticed that on the K2 report, there were a
     ·6· · · · lot of Alibaba charges, which kind of stood out, like,
     ·7· · · · it-it -- it was a lotta them.· So if you go to the tab,
     ·8· · · · Alibaba, right?· I...· So those screenshots, I took the
     ·9· · · · screenshots from the K2 report, and then I manually
     10· · · · typed in the numbers in column B and column V.              I
     11· · · · didn't have the Excel version, so I manually took those
     12· · · · screenshots, put a note there.· Okay.· So for Alibaba,
     13· · · · I had noticed that Ryan, a while back, had shared a
     14· · · · report with me and he had also provided receipts for
     15· · · · Alibaba.· It seemed that I -- at some point he had
     16· · · · done, like, an exercise, trying to figure out what the
     17· · · · expenses were for.· So if you click on Ryan's report
     18· · · · tab in orange, this was created by Ryan, and it has
     19· · · · descriptions of what the charges were for.· This was
     20· · · · created by him.· So I just took what he had provided,
     21· · · · and I assumed those were business charges, and I knew
     22· · · · that there are some receipts, you know, supporting
     23· · · · that.· So besides the 545.85 Alibaba charge, if you go
     24· · · · to Alibaba's tab, scroll down all the way at the end of
     25· · · · this report...

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     ·1· · · · · · · · · ·Um, could you please scroll down?
     ·2· ·Q.· ·I'm...· I'm scrolling on my screen.
     ·3· ·A.· ·Oh, okay.
     ·4· ·Q.· ·Do you see it scrolling down?
     ·5· ·A.· ·Yeah.· Now, it is.
     ·6· ·Q.· ·Okay, good.
     ·7· ·A.· ·And then I noted, like, on Ryan's reports, like, I saw
     ·8· · · · the amount that tied out to Ryan's report.· So the
     ·9· · · · total that I had that -- well, not I had -- the total
     10· · · · that K2 had on their statement for Alibaba was 187,000.
     11· · · · And then, out of that, Ryan had identified the 113,116
     12· · · · from that report, the other tab that you saw, and then
     13· · · · the 545, I had excluded that charge 'cause there were
     14· · · · some questions if that was personal or business-
     15· · · · related.· And then, the total that was, um, of charges
     16· · · · identified and the receipts were available, it was 112.
     17· · · · So I carried over that number into my summary tab, but
     18· · · · then the other 75,000 of Alibaba, I did not have any
     19· · · · invoice copies or support, so I wasn't sure if those
     20· · · · were business, personal.· I just couldn't identify
     21· · · · them.· So if you scroll back to the summary, okay, I
     22· · · · just carried over that Alibaba 112,000, the negative
     23· · · · number there, and then I -- we never entered the
     24· · · · December American Express, um, the-the charges.· I-I
     25· · · · didn't see it until recently.· So I put that back

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    ·1· · · · because that wasn't paid to Kayla and I came up with
    ·2· · · · the 256,732, net of charges on the K2 report that I
    ·3· · · · didn't see any supporting receipt or were able to
    ·4· · · · identify as a business expense.· So that's what that
    ·5· · · · number means.
    ·6· ·Q.· ·Okay.· And --
    ·7· ·A.· ·A lot of numbers.
    ·8· ·Q.· ·Yes, it is.· As-as you said before, it's quite an
    ·9· · · · undertaking for all these, given the number of charges.
    10· · · · · · · · · ·Why did you put together this-this document
    11· · · · here that's Exhibit 3?
    12· ·A.· ·Why I put it together?
    13· · · · · · · · · ·MR. THOMPSON:· Object to form.
    14· ·BY MR. CONVERSE:
    15· ·Q.· ·Yes.
    16· ·A.· ·Because the receipts were available and Colin had
    17· · · · shared them with me.· And when I had spoken to him, I,
    18· · · · uh, he had asked me to-to prepare something.
    19· ·Q.· ·What specifically were you asked to prepare?
    20· ·A.· ·To look through the American Express receipts that were
    21· · · · shared with him.
    22· ·Q.· ·Were you able to review all the charges in the K2
    23· · · · report to ensure that they were accurate in this
    24· · · · version of the report?
    25· ·A.· ·Gosh.· Uckth.· I-I mean, I don't know.· I-I just went,

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    ·1· · · · based with the numbers that they had on the report, and
    ·2· · · · I just went backwards, right?· If Kayla provided the
    ·3· · · · receipt, I-I matched it.· I looked it up in their
    ·4· · · · report and then I-I credited it in my statement that,
    ·5· · · · yes, I received the receipt, looked business.· I mean,
    ·6· · · · I-I can't say how accurate their report is.· I just
    ·7· · · · went, based on what they had provided.
    ·8· ·Q.· ·It appears as though --
    ·9· ·A.· ·Um-hum.
    10· ·Q.· ·-- if we (audio freeze) the number for 60, we're
    11· · · · looking at total charges on Kayla's card in the amount
    12· · · · of a little over 500,000?
    13· ·A.· ·Kayla alone, yeah.
    14· ·Q.· ·Yeah.· And then...· So if we take that amount and
    15· · · · subtract this 256 number in A217, does that reflect the
    16· · · · amount of unaccounted for charges that were made to
    17· · · · Kayla's card?
    18· · · · · · · · · ·MR. THOMPSON:· Object to form.
    19· ·A.· ·So that, those receipts were for both Kayla's and
    20· · · · Dustin's credit card, American Express.· So when I
    21· · · · did it, I did it, like, I didn't -- 'cause I know some
    22· · · · receipts were on Kayla's, some were on Dustin.              I
    23· · · · didn't split out Kayla or Dustin.· I just did it
    24· · · · altogether.· So I can say that, for Kayla and Dusty's
    25· · · · credit card charges, I wasn't able to determine or have

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